Case 1:23-mi-99999-UNA Document 2350-2 Filed 07/25/23 Page 1of1
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

JS 44 (Rev. 04/21)

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS
Prashant Kalava
Shweta Kalavar

rand

(b) County of Residence of First Listed Plaintiff Gwinnett County
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

Carson L. Jeffries, Carter Jeffries LLC, 47 Perimeter
Center East, #530, Atlanta, GA 30346; 404-341-6653

DEFENDANTS
Safeco Insurance Company of Indiana

County of Residence of First Listed Defendant

NOTE:
THE TRACT OF LAND INVOLVED.

Attorneys (if Known)

Hilary W. Hunter, isenberg & Hewitt, P.
Row, #150, Atlanta, GA 30328; 770-351-4400

(IN U.S. PLAINTIFF CASES ONLY)
IN LAND CONDEMNATION CASES, USE THE LOCATION OF

C., 600 Embassy

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

Cj 1 U.S, Government
: Plaintiff

Cl 2 U.S. Government
Defendant

abs

Cj 3 Federal Question
(U.S. Government Not a Party)

[x]4 Diversity

(ndicate Citizenship of Parties in Item II)

(For Diversity Cases Only)

Foreign Country

Il. CITIZENSHIP OF PRINCIPAL PARTIES (Piace an “x” in One Box for Plaintiff
and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State 1 [[] 1 Incorporated or Principal Place f}4 (4
of Business In This State
Citizen of Another State C] 2 C] 2 Incorporated and Principal Place r] 5 5
of Business In Another State
Citizen or Subject of a tC 3 Cc] 3 Foreign Nation C] 6 C] 6

10 Insurance
|_| 120 Marine

[| 150 Recovery of Overpayment
& Enforcement of Judgment
~ Student Loans
(Excludes Veterans)
[_] 160 Stockholders’ Suits
|_| 190 Other Contract

|_| 130 Miller Act
| | 140 Negotiable Instrument

151 Medicare Act

152 Recovery of Defaulted
Cj 153 Recovery of Overpayment

of Veteran’s Benefits

|_| 195 Contract Product Liability
|_| 196 Franchise

210 Land: Condemnation
|__| 220 Foreclosure

[| 230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
|_| 290 All Other Real Property

|_| 441 Voting

442 Employment

443 Housing/
Accommodations

440 Other Civil Rights

445 Amer. w/Disabilities -

Habeas Corpus:

|_| 463 Alien Detainee
[| 510 Motions to Vacate
Sentence

[| 530 General

[|_| 535 Death Penalty

791 Employee Retirement

462 Naturalization Speion

Income Security Act

| | 870 Taxes WU. S. Plaintiff

Click here for: Nature of Suit Code Descriptions.

OTHER STATUTES _
375 False Claims Act

PERSONAL INJURY PERSONAL INJURY | 1625 Drug Related Seizure | 422 Appeal 28 USC 158
310 Airplane C] 365 Personal Injury - of Property 21 USC 881 {| | 423 Withdrawal 376 Qui Tam G1 USC
315 Airplane Product Product Liability | |690 Other 28 USC 157 3729(a))
Liability [_] 367 Health Care/ |_| 400 State Reapportionment
|] 320 Assault, Libel & Pharmaceutical : {| 410 Antitrust
Slander Persona! Injury | 820 Copyrights 430 Banks and Banking
| 330 Federal Employers’ Product Liability {| 830 Patent 450 Commerce
Liability CE] 368 Asbestos Personal | 835 Patent - Abbreviated 460 Deportation
| 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
345 Marine Product Liability [| 840 Trademark Corrupt Organizations
Liability PERSONAL PROPERTY [| 880 Defend Trade Secrets |_| 480 Consumer Credit
350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (1S USC 1681 or 1692)
-| 355 Mator Vehicle H 371 Truth in Lending Act | 485 Telephone Consumer
Product Liability [__] 380 Other Personal | _]720 Labor/Management SIAL SEC : Protection Act
| 360 Other Personal Property Damage Relations [] 861 HIA (1395ff) 490 Cable/Sat TV
Injury Cc] 385 Property Damage 740 Railway Labor Act F | 862 Black Lung (923) 850 Securities/Commodities/
"| 362 Personal Injury - Product Liability 751 Family and Medical | 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act |_| 864 SSID Title XVI | 890 Other Statutory Actions
—[_]790 Other Labor Litigation |] 865 RSI (405(g)) | 891 Agricultural Acts

893 Environmental Matters

|} | 895 Freedom of Information

Act
or Defendant) 896 Arbitration
[| 871 IRS—Third Party 899 Administrative Procedure
— | IMMIGRAT / 26 USC 7609 Act/Review or Appeal of

Agency Decision

Employment Other:
446 Amer. w/Disabilities -[__ | 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

Vv. ORIGIN (Place an “X” in One Box Only)

Ch 1 Original [x]2 Removed from 3 Remanded from Cl 4 Reinstated or CJ 5 Transferred from CO 6 Multidistrict Oo 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
a Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
iC I CAUSE F ACTION Dispute over insurance contract; 28 U.S. Section 1332
‘Vi. oO Brief description of cause:
‘VII. REQUESTEDIN ~~ [] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
_ COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: __[_]Yes No
VII RELATED CASE(S)
IF ANY (See instructions):
JUDGE State Court of DeKalb DOCKET NUMBER 23-A-02822
DATE SIGNATWJRE OF ATTORNEY OF RECORD
July 25, 2023
FOR OFFICE USE ONLY
* RECEIPT # APPLYING IFP JUDGE MAG. JUDGE

AMOUNT

